                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:11-00032
                                                    )       JUDGE CAMPBELL
OMAR ALEJANDRO FLORES-LUJANO                        )

                                            ORDER

         The Court held a hearing on October 5, 2012. For the reasons stated on the record, the

sentencing is continued to October 19, 2012, at 9:00 a.m. All objections to the Presentence Report

shall be filed by October 15, 2012.

         It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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